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                                                            MOTION
                                                            GX802
                      Undercover Purchases from Silk Road Made by
                               DEA New York Field Office

Purchase Date   Vendor         Drug Ordered     Delivery Date      Lab Test Date   Net Weight (g)   Drug Detected

9/22/2011       ITALIANPILOT   heroin           10/4/2011          10/11/2011      0.21 g           heroin

1/3/2012        PAPERCHASING   heroin           1/12/2012          1/19/2012       0.39 g           heroin

2/10/2012       PHARMVILLE     oxycodone        2/15/2012          5/10/2012       5.7 g            oxycodone

3/6/2012        PHARMVILLE     oxycodone        3/11/2012          6/21/2012       26.3 g           oxycodone

3/6/2012        PHARMERJOHN    heroin           3/9/2012           6/21/2012       2.9 g            heroin

5/4/2012        HYPERCITY      amphetamine      5/11/2012          8/31/2012       0.46 g           amphetamine
                               crack cocaine
5/31/2012       KALONJI                         6/8/2012           12/3/2012       5.3 g            cocaine base
                               (cocaine base)
6/18/2012       VICODIN        oxycodone        6/28/2012          1/24/2013       0.54 g           oxycodone

8/16/2012       VICODIN        oxycodone        8/21/2012          3/11/2013       2.7 g            oxycodone

9/14/2012       MOXYCOTTON     oxycodone        9/26/2012          4/4/2013        2.3 g            oxycodone

9/14/2012       DEADHEAD777    heroin           9/26/2012          3/29/2013       0.52 g           heroin

10/19/2012      MOXYCOTTON     oxycodone        10/25/2012         4/10/2013       2.3 g            oxycodone

5/14/2013       NOD            cocaine          5/21/2013          8/29/2013       7.0 g            cocaine
